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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BUFFALO GROVE POLICE PENSION FUND, )
 Derivatively on Behalf of Nominal Defendant )
 NAVIENT CORPORATION,                        )           Civ. A. No. 2:19-cv-00062-LAS
                                             )
                      Plaintiff,
                                             )
        v.                                   )
                                             )
 WILLIAM M. DIEFENDERFER, III, JOHN K. )
 ADAMS, ANNA ESCOBEDO CABRAL,                )
 DIANE SUITT GILLELAND, KATHERINE A. )
 LEHMAN, LINDA A. MILLS, JOHN (JACK)         )
 F. REMONDI, JANE J. THOMPSON, LAURA
                                             )
 S. UNGER, BARRY L. WILLIAMS, ANN
                                             )
 TORRE BATES, STEVEN L. SHAPIRO,
                                             )
 BARRY A. MUNITZ, TIMOTHY J. HYNES,
 IV, SOMSAK CHIVAVIBAL, JOHN M.              )
 KANE, and CHRISTIAN M. LOWN,                )
                                             )
                      Defendants,            )
                                             )
        - and -
                                             )
 NAVIENT CORPORATION,                        )
                                             )
                      Nominal Defendant.     )
                                             )

             PROOF OF COMPLIANCE WITH NOTICE REQUIREMENTS

       In its Order of January 23, 2019, this Court directed counsel for Navient Corporation

(“Navient”) to file with the Court by April 1, 2019, proof of compliance with the notice

procedures set forth in that Order. Attached in satisfaction thereof are a Declaration of

Christopher S. Turner and exhibits thereto, demonstrating compliance with Navient’s notice

obligations in the January 23, 2019 Order preliminarily approving settlement of this Action.




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DATED: April 1, 2019               Respectfully submitted,

                                    /s/ Gregory B. in den Berken

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                                   Christopher S. Turner (admitted pro hac vice)
                                   Gregory B. in den Berken (PA Bar No. 321964)
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                                   Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the CM/ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing on this

1st day of April, 2019.

                                                       /s/ Gregory B. in den Berken
                                                      GREGORY B. IN DEN BERKEN




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